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The following constitutes the ruling of the court and has the force and effect therein described.




Signed November 28, 2023
______________________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


      IN RE:

      JOAN LE ANN GILLHAM,                            Case Number: 19-33107-SGJ-7
         Debtor                                       (Chapter 7)


      JOAN LE ANN GILLHAM,
        Plaintiff,
                                                      Adv. No. 20-03000-SGJ
      v.

      NAVIENT EDUCATION LOAN
      CORP. et al,
        Defendants.



                                        AGREED JUDGMENT




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       Upon consideration of the Complaint (ECF No. 1) and the Stipulation for Entry of

Agreed Judgment filed by the parties (ECF No. 94), as well as the consent of the parties as

evidenced by their signatures below, it is therefore

       ORDERED, ADJUDGED AND DECREED that the student loan debt owed by Joan Le

Ann Gillham to the Department of Education is dischargeable pursuant to 11 U.S.C. § 523(a)(8),

and is hereby DISCHARGED.

                                  ### END OF JUDGMENT ##

AGREED TO CONTENT AND FORM:


LEIGHA SIMONTON
Acting United States Attorney

     /s/ Dawn Whalen Theiss
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